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11

12                          UNITED STATES DISTRICT COURT

13                    FOR THE CENTRAL DISTRICT OF CALIFORNIA

14                                 WESTERN DIVISION

15   UNITED STATES OF AMERICA,               No. 2:22-cv-7443

16             Plaintiff,                    VERIFIED COMPLAINT FOR FORFEITURE

17                  v.                       21 U.S.C. § 881(a)(6)

18   $200,000.00 IN U.S. CURRENCY,           [D.E.A.]
19             Defendant.

20

21       Plaintiff United States of America brings this claim against the
22   below-identified defendant, and alleges as follows:
23                             JURISDICTION AND VENUE
24       1.    The government brings this in rem forfeiture action
25   pursuant to 21 U.S.C. § 881(a)(6).
26       2.    This Court has jurisdiction over the matter under
27   28 U.S.C. § 1345 and 1355.
28       3.    Venue lies in this district pursuant to 28 U.S.C. § 1395.
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1                               PERSONS AND ENTITIES

2        4.    The plaintiff in this action is the United States of

3    America (the “plaintiff”).

4        5.    The defendant (the “Defendant Currency”) is $200,000.00 in

5    U.S. Currency seized on October 8, 2021 during a vehicle search at a

6    shopping center located at 8320 Lincoln Boulevard, Los Angeles,

7    California (the “Shopping Center”), of a 2018 Honda Accord bearing

8    California License Plate No. 8DZB844, occupied by Eduardo Castro

9    Gallardo (“Gallardo”) and Jesus Eduardo Gallardo Montoya (“Montoya”),

10   and registered to Gonzalez Benjamin (“Benjamin”).

11       6.    The Defendant Currency is presently in the custody of the

12   United States Marshals Service (“USMS”) within this District, where

13   it will remain subject to this Court’s jurisdiction during the

14   pendency of this action.

15       7.    The interests of Gallardo, Montoya, Benjamin, Jasmol Singh

16   (“Singh”), and Umit Bagga (“Bagga”), may be adversely affected by

17   these proceedings.

18                              BASIS FOR FORFEITURE
19       8.    In or about September of 2021 members of Drug Enforcement

20   Administration’s (“DEA”) Riverside Task Force Group-2 (“TFG-2”) were

21   conducting an ongoing wiretap investigation into the operations of a

22   drug trafficking organization (the “DTO”) operating in the Southern

23   California region.

24       9.    During TFG-2’s wiretap investigation, TFG-2 agents

25   identified TRAFFICKER 1 as a multi-kilogram cocaine trafficker who

26   transported and distributed illicit narcotics and narcotics proceeds
27   on behalf of the DTO. TFG-2 agents ultimately seized at least 33

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1    kilograms of cocaine, as well as methamphetamine, heroin, and a large

2    amount of U.S. currency, from TRAFFICKER 1’s DTO during the course of

3    this investigation.

4        10.   In or about September of 2021, during TFG-2’s ongoing

5    investigation, TRAFFICKER 1 was intercepted on a phone call speaking

6    with Singh.

7        11.   During the intercepted phone call between TRAFFICKER 1 and

8    Singh, TRAFFICKER 1 and Singh discussed the transfer of $80,000.00 in

9    cash to be delivered to another member of the DTO. Specifically,

10   Singh provided his location to TRAFFICKER 1, and they discussed a

11   predetermined meeting and exchange of currency. In this conversation,

12   Singh and TRAFFICKER 1 used coded language to refer to U.S. Currency.

13       12.   During TFG-2’s investigation into the DTO, TFG-2 agents

14   observed that members of TRAFFICKER 1’s DTO consistently used certain

15   coded language when discussing illicit narcotics proceeds. This coded

16   language included using the word “documents” to refer to thousands of

17   dollars in U.S. Currency in drug proceeds. This same term was used

18   during the September 2021 call between Singh and TRAFFICKER 1.
19       13.   On or about October 8, 2021, Singh was intercepted again as

20   part of TFG-2’s investigation. In this call, Singh was contacted by

21   an unknown male (the “UM”) and directed to meet and receive “200.”

22   During this call, Singh and the UM also used the same coded language

23   to discuss U.S. Currency as used by TRAFFICKER 1 during Singh’s call

24   with TRAFFICKER 1 approximately one month earlier.

25       14.   TFG-2 agents then requested Fontana Police Department

26   (“FPD”) officers establish surveillance at a shopping center which
27   was identified in Singh’s call with the UM (the “Shopping Center”).

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1        15.   On October 8, 2021, FPD Narcotics Unit officers set up

2    surveillance at the Shopping Center as directed by TFG-2.

3        16.   FPD Officers subsequently observed a male adult

4    (subsequently identified as Gallardo) approach another male adult

5    (subsequently identified as Singh) in front of the Shopping Center.

6    Gallardo handed Singh a dollar bill, which Singh examined and then

7    returned to Gallardo.

8        17.   U.S. Currency serial numbers are often used as a

9    verification process to deliver or receive narcotics or narcotics

10   proceeds, as they cannot easily be forged or altered. If the subject

11   does not have the correct bill serial number, then narcotics or

12   narcotic proceeds will not be given to that person.

13       18.   Gallardo then returned to a nearby parking lot located at

14   or near 8320 Lincoln Boulevard. Officers contacted Gallardo as he

15   approached a white Honda Accord with California license plate number

16   8DZB844 (the “Vehicle”). When Gallardo noticed the FPD officers

17   approaching him, he attempted to quickly get into the Vehicle's

18   driver-side door. Officers detained Gallardo and identified him based
19   on a California Driver’s License in his possession. FPD officers

20   identified an additional person seated in the front passenger seat of

21   the same vehicle as Montoya by his California identification card.

22       19.   Gallardo gave verbal consent to a search of the Vehicle.

23   FPD officers located and seized $200,000.00 in U.S. Currency (i.e.,

24   the Defendant Currency) packaged in rubber bands inside a plastic bag

25   and concealed in a brown cardboard box behind the driver’s seat of

26   the Vehicle.
27       20.   The Defendant Currency was found in a bag, without any bank

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1    bands or markings, and was rubber-banded in a manner consistent with

2    DTO narcotics proceeds.

3        21.     Gallardo and Montoya each denied ownership of the Defendant

4    Currency, and each signed a Disclaimer of Ownership and Waiver of

5    Notice form. FPD Officers then seized the Defendant Currency.

6        22.     While FPD officers were preparing paperwork, Gallardo

7    stated that he had driven to Los Angeles from Indio because he had

8    been asked to do someone a favor, but provided no additional

9    information about the source of the U.S. Currency. When Officers

10   advised Gallardo of his Miranda rights, Gallardo made no further

11   statements.

12       23.     Gallardo and Montoya were then arrested for violations of

13   California Health and Safety Code section 11370.6, and released on

14   scene pursuant to California Penal Code section 849(b).

15       24.     Upon returning to FPD offices, FPD officers requested

16   assistance of a K-9 officer to conduct a sniff of the Defendant

17   Currency.

18       25.     FPD Officer B. Terwilliger responded with K-9 officer Axl.
19   Axl is certified in odor detection of Marijuana, Cocaine,

20   Methamphetamine, Heroin, and Ecstasy. Axl participates in bi-weekly

21   training for a total of 20 hours in both patrol and narcotics

22   detection. Axl is certified in both patrol/narcotics detection

23   annually and, along with Officer Terwilliger, was originally

24   certified on 10/30/2019 after completing the “Narcotics Detection”

25   course at Scenturion K9/AEP training facility. Axl is trained to

26   passively alert upon the detection of the odor of narcotics.
27       26.     Officer Terwilliger first conduced a sweep of the

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1    surrounding area and observed no other visible sources of narcotics.

2    Officer Terwilliger then deployed Axl to the search area. Axl

3    approached the bag containing the Defendant Currency on the ground

4    and showed a change of behavior, namely, a head turn, followed by

5    rapid sniffing of the bag. At this point, Axl displayed his passive

6    alert to the odor of narcotics inside the bag by sitting down.

7         27.   Seizing agency administrative forfeiture proceedings often

8    precede the filing of a judicial forfeiture action.          Bagga and Singh

9    submitted a claim in the administrative forfeiture proceedings as to

10   the Defendant Currency, contesting the seizing agency’s

11   administrative forfeiture of the funds, but that claim failed to

12   disclose how, if at all, Bagga and or Singh had any interest in the

13   Defendant Currency.    As a result of Bagga and Singh’s submission, the

14   instant judicial forfeiture action is being filed requesting a Court

15   judgment of forfeiture relative to the Defendant Currency.

16                                 CLAIM FOR RELIEF

17        28.   Plaintiff incorporates the allegations of paragraphs 1-27

18   above as though fully set forth herein.
19        29.   Based on the above, plaintiff alleges that the Defendant

20   Currency represents or is traceable to proceeds of illegal narcotics

21   trafficking, or was intended to be used in one or more exchanges for

22   a controlled substance or listed chemical, in violation of 21 U.S.C.

23   § 841, et. seq. The Defendant Currency is therefore subject to

24   forfeiture pursuant to 21 U.S.C. § 881(a)(6).

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1        WHEREFORE, plaintiff United States of America prays:

2        (a)   that due process issue to enforce the forfeiture of the

3    Defendant Currency;

4        (b)   that due notice be given to all interested parties to

5    appear and show cause why forfeiture should not be decreed;

6        (c)   that this Court decree forfeiture of the Defendant Currency

7    to the United States of America for disposition according to law; and

8        (d)   for such other and further relief as this Court may deem

9    just and proper, together with the costs and disbursements of this

10   action.

11

12   Dated: October 12, 2022             E. MARTIN ESTRADA
                                         United States Attorney
13                                       SCOTT M. GARRINGER
                                         Assistant United States Attorney
14
                                         Chief, Criminal Division
15                                       JONATHAN GALATZAN
                                         Assistant United States Attorney
16                                       Chief, Asset Forfeiture Section

17                                         /s/       ______________
                                         DAN G. BOYLE
18                                       Assistant United States Attorney
19
                                         Attorneys for Plaintiff
20                                       UNITED STATES OF AMERICA

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1                                    VERIFICATION

2        I, HEJA ROSEBIANI, hereby declare that:

3        1.    I am a Special Agent for the Drug Enforcement

4    Administration and the case agent for the forfeiture matter entitled

5    United States of America v. $200,000.00 in U.S. Currency.

6        2.    I have read the above Verified Complaint for Forfeiture and

7    know its contents.    It is based upon my own personal knowledge and

8    reports provided to me by other law enforcement agents.

9        3.    Everything contained in the Complaint is true and correct,

10   to the best of my knowledge and belief.

11       I declare under penalty of perjury that the foregoing is true

12   and correct.

13             Executed on October __12__, 2022 at _____10:22________,

14   California.

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16
                                            ____Heja Rosebiani_______
17                                          HEJA ROSEBIANI
                                            Drug Enforcement Administration
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